             Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 1 of 29




                                  No. 25-807

                 UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

    STATES OF WASHINGTON, ARIZONA, ILLINOIS, and OREGON,
                                                  Plaintiffs-Appellees,

CHERLY NORALES CASTILLO and ALICIA CHAVARRIA LOPEZ, on behalf
        of themselves as individuals and others similarly situated,
                                                  Plaintiffs-Appellees,
                                       v.
                 DONALD TRUMP, in his official capacity as
                    President of the United States, et al.,
                                                  Defendants-Appellants.

 On Appeal from the U.S. District Court for the Western District of Washington
                        Case No. 2:25-cv-00127-JCC
                    The Honorable John C. Coughenour

             PLAINTIFF STATES SUPPLEMENTAL BRIEF

                          NICHOLAS W. BROWN
                       Attorney General of Washington
COLLEEN M. MELODY, WSBA 42275                  NOAH G. PURCELL, WSBA 43492
 Civil Rights Division Chief                    Solicitor General
LANE POLOZOLA, WSBA 50138                      CRISTINA SEPE, WSBA 53609
DANIEL J. JEON, WSBA 58087                     MARSHA CHIEN, WSBA 47020
ALYSON DIMMITT GNAM, WSBA 48143                 Deputy Solicitors General
 Assistant Attorneys General                   1125 Washington Street SE
800 Fifth Avenue, Suite 2000                   PO Box 40100
Seattle, WA 98104-3188                         Olympia, WA 98504-0100
206-464-7744                                   360-753-6200

                   (Additional Counsel on Signature Page)
                    Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 2 of 29




                                       TABLE OF CONTENTS

I.     INTRODUCTION ............................................................................................1

II.    BACKGROUND .............................................................................................. 2

III.   ARGUMENT .................................................................................................... 7

       A. CASA Confirms the District Court Applied the Correct Complete
          Relief Standard in Issuing a Nationwide Injunction................................. 7

       B. A Nationwide Injunction Is Necessary to Provide the Plaintiff States
          with Complete Relief, and Defendants Present No Facts or Serious
          Argument Otherwise ................................................................................ 12

IV. CONCLUSION ............................................................................................... 20




                                                          i
                     Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 3 of 29




                                     TABLE OF AUTHORITIES

                                                      Cases

Barbara v. Trump,
  No. 25-cv-244, 2025 WL 1904338 (D.N.H. July 10, 2025) ..................................2

Califano v. Yamasaki,
 442 U.S. 682 (1979) ...............................................................................................9

California v. Azar,
 911 F.3d 558 (9th Cir. 2018) ................................................................................10

City & County of San Francisco v. Barr,
  965 F.3d 753 (9th Cir. 2020) ................................................................................10

City of Chicago v. Barr,
  961 F.3d 882 (7th Cir. 2020) ................................................................................11

Doe #1 v. Trump,
 957 F.3d 1050 (9th Cir. 2020) ................................................................................9

E. Bay Sanctuary Covenant v. Biden,
  993 F.3d 640 (9th Cir. 2021) ..................................................................................9

Hecht Co. v. Bowles,
 321 U.S. 321 (1944) ...............................................................................................8

Kinney-Coastal Oil Co. v. Kieffer,
  277 U.S. 488 (1928) ...............................................................................................8

Madsen v. Womens Health Ctr., Inc.,
 512 U.S. 753 (1994) ...............................................................................................4

Missouri v. Trump,
 128 F.4th 979 (8th Cir. 2025) ...............................................................................10

New Jersey v. Trump,
 No. 25-cv-10139 (D. Mass. July 8, 2025). .............................................................6




                                                          ii
                     Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 4 of 29




Shaw v. Hunt,
  517 U.S. 899 (1996) ...............................................................................................8

Steele v. Bulova Watch Co.,
  344 U.S. 280 (1952) ...............................................................................................7

Trump v. CASA, Inc.,
  606 U.S. ----, 2025 WL 1773631 (June 27, 2025) .................................................1

Trump v. Hawaii,
  585 U.S. 667 (2018) ...............................................................................................8

                                                     Statutes

8 U.S.C. § 1611(a) ............................................................................................ 14, 16

8 U.S.C. § 1611(c)(1)(B) .................................................................................. 14, 16

42 U.S.C. § 1320b-7(a) ..................................................................................... 14, 16

42 U.S.C. § 1320b-7(b)(1) .......................................................................................16

42 U.S.C. § 1320b-7(b)(2) .......................................................................................16

42 U.S.C. § 1320b-7(b)(4) .......................................................................................16

42 U.S.C. § 1396b(v) ........................................................................................ 14, 16

                                                   Regulations

42 C.F.R. § 435.406 .......................................................................................... 14, 16

42 C.F.R. § 435.407 .................................................................................................17

42 C.F.R. § 435.956(b) ............................................................................................17

                                               Other Authorities

Protecting the Meaning and Value of American Citizenship,
  Exec. Order 14,160, 90 Fed. Reg. 8449 (Jan. 20, 2025) ......................................16




                                                          iii
                   Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 5 of 29




U.S. Census Bureau, U.S. Dept of Com., Geographical Mobility in the Past
  Year by Age for Current Residence in the U.S., Am. Cmty. Survey, ACS 1-
  Year Estimates Detailed Tables, Table B07001,
  https://tinyurl.com/mpau42e9...............................................................................13




                                                      iv
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 6 of 29




                             I.     INTRODUCTION

      The Supreme Courts decision in Trump v. CASA, Inc., 606 U.S. ----, 2025

WL 1773631 (June 27, 2025), confirms that the district court did not err, much less

abuse its discretion, in reaching the factual conclusion that nationwide preliminary

relief was necessary to protect the Plaintiff States from irreparable harm. The Court

did not cast a sliver of doubt on the conclusion of every lower court that the

Citizenship Stripping Order is plainly unlawful. It addressed only a remedy question,

holding that universal injunctions designed to benefit non-parties likely exceed the

statutory authority of federal courts under the Judiciary Act of 1789. In doing so,

however, the Supreme Court reaffirmed the longstanding principle that injunctions

should provide complete relief to plaintiffs. And this is the basis upon which the

Plaintiff States sought, and the district court awarded, a nationwide injunction.

      Because the Supreme Court held that nationwide injunctions can be

appropriate to award[] complete relief to the parties themselves, it rejected

Defendants contention that the injunctions in this case and the District of

Massachusetts, which was similarly designed to protect a group of state plaintiffs,

were improper. The Supreme Court instead granted a partial stay only to the extent

the injunctions go beyond what is necessary to provide the Plaintiff States and other

plaintiffs with complete relief. As the Plaintiff States have consistently argued here,

and as the district court concluded based on the unrebutted record, nationwide relief


                                          1
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 7 of 29




is necessary in this case because [a]nything less is ineffectual. ER-15. CASA

confirms that the district court had authority to issue relief on a nationwide basis,

and the Court should affirm the district courts injunction in full.

                              II.    BACKGROUND

      Like every federal court to review the Citizenship Stripping Order on the

merits, the district court in this case concluded that it is flatly contrary to the

Fourteenth Amendments text and history, Supreme Court precedent, longstanding

Executive Branch interpretation, and the Immigration and Nationality Act. See

ER-7-12; States Answering Br. at 6 (detailing other cases).1 The district court also

correctly recognized the grave harms it will cause to the Plaintiff States and their

public agencies, programs, fiscs, and residents. ER-12-15. Based on the unrebutted

record before it, the district court fashioned an appropriate injunction to remedy

those harms: the nationwide injunction that provides the Plaintiff States with

complete relief and preserves the centuries-old status quo while the case proceeds.

Id. Now, as relevant to the scope-of-relief question following CASA, a few key points

from the record bear highlighting.

      First, the Plaintiff States have asserted from the beginning that a nationwide



      1
        On July 10, 2025, the District of New Hampshire certified a provisional class
that mirrors the categories of individuals covered under the Citizenship Stripping
Order and issued a classwide preliminary injunction. See Barbara v. Trump,
No. 25-cv-244, 2025 WL 1904338, at *16 (D.N.H. July 10, 2025). That injunction
is stayed for seven days pending appeal.

                                           2
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 8 of 29




injunction is necessary to provide them with complete reliefnot that they wanted

a universal injunction untethered from their actual harms. See, e.g., 1-SER-52

(A nationwide injunction is necessary due to the extraordinary nature of the

Citizenship Stripping Order and the impossibility of fashioning an injunction of

lesser scope that would provide complete relief to the Plaintiff States.); 2-SER-403-

404 (explaining how nationwide relief is required for complete relief because if

children born in other states are unlawfully deemed non-citizens under the

Citizenship Stripping Order and move to the Plaintiff States, the Plaintiff States

will suffer the same irreparable injuries to their sovereign interests and substantial

financial losses and administrative burdens that they would without any injunction

at all); accord 1-SER-19-20; Dkt. 31.1 at 18-20.

      To support their request for an injunction, the Plaintiff States detailed the

sovereign harms they would suffer by having thousands of their residents deemed

non-citizens, and they presented undisputed evidence that, beginning immediately,

the Order would cause the loss of millions of dollars in federal funding for programs

the States administer, such as Medicaid, the Childrens Health Insurance Program

(CHIP), Title IV-E foster care, and the Social Security Administrations

Enumeration at Birth program, and also impose mammoth costs and administrative

burdens to modify those programs should the Citizenship Stripping Order take effect

in full or in part. See 1-SER-30-38, 44-53, 107-180, 242-248, 254-279, 292-299;


                                          3
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 9 of 29




2-SER-302-311.

      Second, while arguing that nationwide injunctions are improper, Defendants

have acknowledged that injunctions may be appropriately designed to provide

plaintiffs with complete relief. 2-SER-376-377 (citing Madsen v. Womens Health

Ctr., Inc., 512 U.S. 753, 765 (1994)). And despite having the opportunity, they did

not offer any alternative for the district court to consider and largely ignored the

record of harm to the States and the chaos that will ensue should the United States,

for the first time since the Civil War, have a citizenship rule that turns on a persons

state of residence. Rather, at the district court, Defendants simply said spillover

effect[s] on state expenditures are not sufficient and offered no further details. Id.

Before this Court, Defendants challenge the scope of the injunction on the ground

that universal injunctions are never permissible because they violate Article III

while still conceding the complete relief rule, declining to grapple with the factual

record, and offering only threadbare criticisms of the district courts complete relief

conclusion. Opening Br. at 49-52; see also Dkt. 21.1 at 17-18.

      To date, Defendants have offered no evidence or serious proposal to show

how a narrower injunction would actually work in light of the established rule of

birthright citizenship, including the complex laws and state systems built upon the

long-settled principle that all children born here are citizens. On appeal, Defendants

legal arguments regarding the Plaintiff States need for complete relief have been


                                           4
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 10 of 29




nothing more than ill-conceived (and evolving) suggestions. They first suggested

that children moving to the Plaintiff States could be deemed categorically eligible

for services regardless of their actual citizenship, which would violate federal law.

See Opening Br. at 51-52; infra Section III.B. They then proposed that children

simply be treat[ed] as citizens when they are physically present in the Plaintiff

States, even though that would be impossible to manage in reality, place residents at

grave risk of arrest and removal should they leave the Plaintiff States, and impose

extensive new burdens on the Plaintiff States, which would be required to manually

verify citizenship for those children born elsewhere who would not be given any

type of citizenship-affirming document or an SSN when born in non-Plaintiff States.

See Reply Br. at 30; infra Section III.B.

      Third, the district court did not reflexively award a universal injunction that

benefits non-parties. It expressly applied the complete relief standard in

determining that its injunction should apply nationwide. Indeed, the district court

anticipated the Supreme Courts guidance in CASA, recognizing that [i]t is

axiomatic that injunctive relief must be narrowly tailored. ER-14. It then noted that

the Plaintiff States contend anything less [than nationwide relief] cannot provide

complete relief, and credited the unrebutted record showing as much. Id. For

example, the district court explained that babies born in other states would travel to

the Plaintiff States[,] and [o]nce they do, those persons would be eligible for


                                            5
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 11 of 29




services and support that, without nationwide relief, need be funded by the Plaintiff

States, without federal support (even though that same funding would continue for

babies born within the Plaintiff States to parents of comparable immigration status).

ER-14-15. The district court further recognized that the recordkeeping and

administrative burdens from any narrower proposal mandated nationwide relief. ER-

15. In short, the district court concluded, relief must be nationwide because

[a]nything less is ineffectual. Id. (emphasis added).

      Against this backdrop, Defendants asked the Supreme Court for a partial stay

of the district courts injunction, as well as two other injunctions. The Supreme Court

issued its opinion on June 27, 2025, and this Court ordered supplemental briefing

the same day. Dkt. 145.1. In light of the Supreme Courts direction that lower courts

expeditiously consider the propriety of the injunctions scope, the Plaintiff States

requested a limited remand so that the district court could, in the first instance,

consider the impact of CASA and any proposals Defendants wish to offer regarding

a narrower injunction. Dkt. 146.1. Defendants opposed that motion, saying they need

not further develop their arguments or evidence regarding how a narrower injunction

would work.2 See Dkt. 147.1. That motion remains pending.



      2
        Defendants took a similar position in the District of Massachusetts case,
declining to submit any new proposals or evidence to support their arguments that a
narrower, patchwork injunction would be sufficient to remedy those states harms.
See New Jersey v. Trump, No. 25-cv-10139, Dkt. 193 (D. Mass. July 8, 2025).

                                          6
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 12 of 29




                                III.   ARGUMENT

A.    CASA Confirms the District Court Applied the Correct Complete
      Relief Standard in Issuing a Nationwide Injunction

      The Supreme Courts CASA decision addressed injunctions awarded to three

types of plaintiffsindividuals, organizations, and states, including the Plaintiff

States here. The federal government sought to partially stay the injunctions and

limit them to the parties. CASA, 2025 WL 1773631, at *5. In ruling on the

Defendants stay applications, the Court answered the question whether, under the

Judiciary Act of 1789, federal courts have equitable authority to issue universal

injunctions[,]3 which the Court defined as injunctions based on a district courts

asserti[on] [of] the power to prohibit enforcement of a law or policy against

anyone. Id. at *4-5. In setting forth the type of injunctions it considered to be

unauthorized, the Court distinguished between universal injunctions, designed

primarily to protect non-parties, and traditional, parties-only injunction[s], which,

while more limited, can apply beyond the jurisdiction of the issuing court. Id.

at *4 n.1 (citing Steele v. Bulova Watch Co., 344 U.S. 280, 289 (1952)). As the

Supreme Court explained, [t]he difference between a traditional injunction and a

universal injunction is not so much where it applies, but whom it protects[.] Id.

      The Court concluded that courts likely do not have the authority under the


      3
         The Court express[ed] no view on the Governments argument that Article
III forecloses universal relief. CASA, 2025 WL 1773631, at *6 n.4.

                                          7
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 13 of 29




Judiciary Act of 1789 to issue so-called universal injunctions designed to protect

anyone, anywhere. Id. at *4, 13. In doing so, however, the Court reiterated that

there is no broad rule that injunctions applying nationwide or which incidentally

benefit non-parties are per se impermissible. Instead, the Court reaffirmed the

complete-relief principle that has deep roots in equity[,] explaining that [t]he

equitable tradition has long embraced the rule that courts generally may administer

complete relief between the parties. Id. at *10-11 (citing Kinney-Coastal Oil Co.

v. Kieffer, 277 U.S. 488, 507 (1928)). And importantly, courts may do so where, as

a practical matter, the relief may advantag[e] nonparties, since they do so only

incidentally. Id. at *11 (citing Trump v. Hawaii, 585 U.S. 667, 717 (2018) (Thomas,

J., concurring)). Indeed, the Court acknowledged there may be injuries for which it

is all but impossible for courts to craft relief that is complete and benefits only the

named plaintiffs. Id. at *11 n.12 (citing Shaw v. Hunt, 517 U.S. 899 (1996) (racially

gerrymandered congressional maps)). Thus, while complete relief is the maximum

a court can provide[,] the Court confirmed that [t]he essence of equity jurisdiction

has been the power of the Chancellor to do equity and to mould each decree to the

necessities of the particular case. Id. at *12 (citing Hecht Co. v. Bowles, 321 U.S.

321, 329 (1944)).

      The Supreme Courts decision confirms that the district courts injunction is

on sound legal footing. Indeed, the Court declined to conclude that the district court


                                          8
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 14 of 29




injunctions to the States are impermissible under this established standard. Id.

at *11-12. The Court recognized that, in contrast to the injunction entered as to the

non-State plaintiffs, the lower court injunctions issued to protect the Plaintiff States

by the district court below and the District of Massachusetts did not purport to

directly benefit non-parties. Id. They instead reflected the decision that a broad

injunction was necessary to remedy the States injuries. Id. The Court thus granted

the partial stay only to the extent that the injunctions are broader than necessary to

provide complete relief to each plaintiff with standing to sue. Id. at *15 (emphasis

added). And on that score, the Court did not question the States standing. Id.

      Consistent with CASA, this Court has previously recognized that complete

relief must give prevailing parties the relief to which they are entitled, and is

appropriate even if it incidentally benefits non-parties. E. Bay Sanctuary Covenant

v. Biden, 993 F.3d 640, 680 (9th Cir. 2021) (citations omitted); see also Doe #1 v.

Trump, 957 F.3d 1050, 1069-70 (9th Cir. 2020) (affirming nationwide relief [as]

necessary to afford the class members the relief to which they are entitled). To be

complete, that equitable relief must remedy [all the] harms the plaintiff suffers.

E. Bay Sanctuary Covenant, 993 F.3d at 680; see also Califano v. Yamasaki,

442 U.S. 682, 702 (1979) ([I]njunctive relief should be no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.).

      This Court has in turn regularly applied the complete relief standard in both


                                           9
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 15 of 29




upholding and narrowing injunctions. See, e.g., Washington v. Trump, 847 F.3d

1151, 1166-67 (9th Cir. 2017) (declining to narrow geographic scope of TRO barring

enforcement of Executive Order nationwide where the Government has not

proposed a workable alternative form of the TRO that accounts for the nations

multiple ports of entry and interconnected transit system and that would protect the

proprietary interests of the States at issue here while nevertheless applying only

within the States borders); City & County of San Francisco v. Barr, 965 F.3d 753,

765 (9th Cir. 2020) (holding that [w]hile extending this same relief to non-party

jurisdictions beyond Californias geographical bounds would likely be of

consequence to those other jurisdictions, it does nothing to remedy the specific

harms alleged by the Plaintiffs in this case); California v. Azar, 911 F.3d 558, 584

(9th Cir. 2018) ([A]n injunction that applies only to the plaintiff states would

provide complete relief to them. . . . The injunction must be narrowed to redress only

the injury shown as to the plaintiff states.). CASA reaffirms the correct standard that

this Court has often relied upon and which the district court followed.

      Other Circuits have similarly upheld nationwide injunctions in order to ensure

that political jurisdictions are provided complete relief. For instance, in

Missouri v. Trump, 128 F.4th 979, 985, 997 (8th Cir. 2025), the Eighth Circuit

affirmed a nationwide injunction because it provided complete relief for states that

challenged the authority of the federal government to forgive student loans.


                                          10
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 16 of 29




In rejecting the defendants request to narrow the injunction to loans held by the

Missouri loan servicer, the court relied on the fact that individuals move across state

lines to explain why a nationwide injunction was required for complete relief. Id.

at 997. It explained that [t]hrough a process called rebalancing, the Department can

move student loan accounts from one servicer to another. Id. Thus, [a] borrower

could spend nine years living in Kansas, paying off loans thinking he would obtain

forgiveness, only to move to Missouri in year ten or have his accounts shifted to

MOHELA and no longer be eligible under the federal officials preferred approach.

Id. (explaining that a narrower injunction would not provide complete relief because

it would also create chaos and uncertainty and be difficult to administer).

      So too in City of Chicago v. Barr, 961 F.3d 882 (7th Cir. 2020). There,

Chicago sought an injunction prohibiting the federal government from enforcing

unlawful immigration-related conditions on recipients of federal funding under the

Edward Byrne Memorial Justice Assistance Grant Program (Byrne JAG). Id.

at 886-87. After acknowledging the debate around the propriety of universal

injunctions, the Seventh Circuit affirmed an injunction against the conditions

nationwide on the ground that doing so was necessary to provide complete and

accurate relief to Chicago now and in the future. Id. at 921-28. The Court

acknowledged, in a decision that anticipated CASAs holding, that [i]t is widely

acceptedeven by self-professed opponents of universal injunctionsthat a court


                                          11
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 17 of 29




may impose the equitable relief necessary to render complete relief to the plaintiff,

even if that relief extends incidentally to non-parties. Id. at 920-21 (citing Califano,

442 U.S. at 702). Applying that rule, the court explained that the slice of the Byrne

JAG pie that Chicago receives is related to the slices received by Illinois and other

states, and if the imposition of the unlawful conditions eliminates Illinois or other

states from receiving their own awards, then that can impact Chicagos award as

well. Id. at 921. Thus, [c]omplete relief to Chicago requires that in calculating its

grants the unlawful grant conditions are not applied program-wide. Id. at 928.

      CASA confirms that the district court properly applied these equitable

principles. It will surely require narrower relief in some cases where courts had

issued true universal injunctions going beyond what is needed to provide complete

relief to plaintiffs. But this case falls well within the equitable authority CASA

reaffirmed. This Court should therefore consider the same question that the parties

briefed, and the district court considered, below: whether a narrower injunction will

provide the Plaintiff States with complete relief. As the district court correctly

concluded, it would not.

B.    A Nationwide Injunction Is Necessary to Provide the Plaintiff States with
      Complete Relief, and Defendants Present No Facts or Serious Argument
      Otherwise

      In light of CASAs confirmation that broad injunctive relief is permissible

where needed to provide plaintiffs with complete relief, the district courts injunction


                                           12
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 18 of 29




is plainly appropriate. The district court explicitly concluded that relief must be

nationwide because [a]nything less is ineffectual. ER-15. That conclusion is well

supported by the unrebutted record in this case and confirmed by the federal

Defendants failure to offer any serious proposal for how a narrower injunction

would possibly work. Indeed, even now, Defendants have opposed the Plaintiff

States request for a limited remand that would require Defendants to put their cards

on the table. Dkt. 147.1. Given Defendants repeated refusal to contribute anything

to the record or meaningfully develop their arguments, they must now take it as it is.

      And on that record, a geographically limited injunction would result in the

same kinds of irreparable harms to the Plaintiff States as no injunction at all. The

reason is simple: families often move across state lines.4 See CASA, 2025 WL

1773631, at *12 (Children often move across state lines or are born outside their

parents State of residence.). As a result, absent nationwide relief, the Plaintiff

States may (depending on the exact scope of relief) suffer the same sovereign injuries


      4
          The federal governments own data confirms the significant numbers of
children who move to the Plaintiff States from other states each year. See U.S.
Census Bureau, U.S. Dept of Com., Geographical Mobility in the Past Year by Age
for Current Residence in the U.S., Am. Cmty. Survey, ACS 1-Year Estimates Detailed
Tables, Table B07001, https://tinyurl.com/mpau42e9 (American Community Survey
data indicating that in 2023, an estimated 212,616 people moved to Washington from
other states, including 29,175 children aged 1-17; an estimated 256,203 people
moved to Arizona from other states, including 36,312 children aged 1-17; an
estimated 203,758 people moved to Illinois from other states, including 24,773
children aged 1-17; and an estimated 125,246 people moved to Oregon from other
states, including 15,565 children aged 1-17).

                                         13
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 19 of 29




with respect to newly minted non-citizens who move to the Statesthose

individuals will be excluded from the citizenry, depriving the States of their service

(e.g., as jurors, officeholders, police officers, and voters) and impacting the States

laws that turn on citizenship status. This will present the Plaintiff States with the

same kinds of harms as newborns born in the States who are stripped of their

citizenship. See States Answering Br. at 18-21 (discussing sovereign harms to

States).

      With respect to the Plaintiff States pocketbook injuries, it is undisputed that

the States will suffer continued injuries and losses if children born outside their

borders are denied citizenship pursuant to the Citizenship Stripping Order. Many

such children will move into the Plaintiff States, meaning that the Plaintiff States

agencies would still be required to overhaul their systems to verify eligibility for

Medicaid, CHIP, and Title IV-E because they must verify the actual citizenship or

qualifying immigration status of every child they serve, regardless of where they

were born. See, e.g., 42 U.S.C. § 1320b-7(a) (requiring states who administer

federally funded benefits to operate eligibility verification system[s]); see also

42 U.S.C. § 1396b(v); 8 U.S.C. §§ 1611(a), (c)(1)(B); 42 C.F.R. § 435.406. Accord

1-SER-151, 153-158, 167-168, 259-260, 293-298; 2-SER-306-307, 309.

      To avoid that straightforward and chaotic result, Defendants now say on

appeal that the States could simply treat noncitizens moving to the States as eligible


                                          14
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 20 of 29




for federally funded medical and social programs, Opening Br. at 52, and even go

so far as to suggest that a child born in non-Plaintiff States can simply be treat[ed]

as a citizen while the child is in a plaintiff State, Reply Br. at 30. These suggestions

fail for two independent reasons, as the Plaintiff States have explained previously.

      First, Defendants have consistently refused to meaningfully elaborate upon

their proposal for narrowing the injunction, thus depriving the Plaintiff States and

the Court of the ability to fully understand how it might operate or rebut the notion

that it might provide the Plaintiff States with complete relief. See Wilkins v. United

States, 598 U.S. 152, 158 (2023) (for efficiency and fairness, our [adversarial] legal

system . . . require[s] parties to raise arguments themselves and to do so at certain

times). As the Plaintiff States have explained, the appropriate forum for that

argument is in the district court, in order to permit that court to develop a record

regarding the adequacy of Defendants new proposal, and Defendants refusal to

agree to a limited remand or provide additional details about how the injunction

might properly be narrowed constitutes forfeiture of any such opportunity. Cf. J.D.

v. Azar, 925 F.3d 1291, 1336 (D.C. Cir. 2019) (a court is not obligated to undertake

the task of chiseling from the governments across-the-board ban a different policy

the government never identified, endorsed, or defended).

      Second, even if considered on their own terms, Defendants proposals would

come nowhere close to providing the Plaintiff States with complete or meaningful


                                           15
               Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 21 of 29




reliefchaos is still assured under their new narrower proposals to this Court. The

thrust of Defendants suggestions is that a childs American citizenship could turn

on and off depending on the state where the child is physically present or the purpose

for which ones citizenship is being used. But with respect to the idea that children

present in the Plaintiff States could simply be deemed eligible for Medicaid, CHIP,

or Title IV-E services, or have citizenship be sometimes on, sometimes off,

Defendants ignore that the Plaintiff States are required by federal law to verify actual

citizenship status for the programs they operate. See 1-SER-151, 153-158, 167-168,

259-260, 293-298; 2-SER-306-307, 309; see, e.g., 42 U.S.C. § 1396b(v); 8 U.S.C.

§§ 1611(a), (c)(1)(B); 42 C.F.R. § 435.406. Absent changes to a host of federal laws

and regulations, Defendants proposal simply cant work.

      For their Medicaid programs, for example, the Plaintiff States must verify

through electronic systems the citizenship or qualifying immigration status of every

person they serve. 42 U.S.C. §§ 1320b-7(a), (b)(1), (b)(2), (b)(4); see 42 C.F.R.

§ 435.406(c) (requiring verification of citizenship); id. § 435.956 (requiring

verification through electronic means). Of course, SSNs will not be available to

children born in the non-Plaintiff States, because the Citizenship Stripping Order

says so. See Protecting the Meaning and Value of American Citizenship, Exec. Order

14,160, 90 Fed. Reg. 8449 (Jan. 20, 2025) (directing that no department or agency

of the United States government shall issue documents recognizing United States


                                          16
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 22 of 29




citizenship, or accept documents . . . purporting to recognize United States

citizenship for covered newborns).

      Where an individuals citizenship cannot be verified through electronic means

with an SSN, the State Medicaid agency must work directly with the individual to

complete verification and obtain documentation as to their citizenship. 42 C.F.R.

§ 435.956(b). And for those individuals who lack an SSN, the agency must assist

the individual in obtaining an SSN so that the State can verify citizenship using the

SSN once obtained. Id. § 435.956(b)(1)(i); see also id. § 435.407(e) (requiring states

to assist applicants in a timely manner to secur[e] satisfactory documentary

evidence of citizenship). As for manual verification, that requires documentation,

and only certain forms of documentation like passports and certificates of citizenship

are deemed acceptable as proof of citizenship, nearly all of which, like SSNs, will

not be available to children born in non-Plaintiff States. See 42 C.F.R. § 435.407.

In other words, absent a nationwide injunction, the Citizenship Stripping Order

creates a problema patchwork system of citizenship and documentationthat the

Plaintiff States will then bear the added burden of addressing.

      Thus, even accepting Defendants threadbare suggestion at face value, the

Plaintiff States will suffer irreparable harm in overhauling and operating their

services programs for the thousands of children per year who will move to the

Plaintiff States without documentation of citizenship. Washingtons Medicaid


                                         17
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 23 of 29




agency, the Healthcare Authority (HCA), for example, explained how the automated

verification process (operated consistent with federal law) would be upset and result

in substantial new burdens on the agency. Currently, HCA uses an individuals SSN

(consistent with federal law) to confirm identity and citizenship through what is

called the federal hub. 1-SER-153. For individuals who are citizens but lack SSNs,

the agency must engage in a manual verification process that requires working with

the individual to obtain proof of citizenship. 1-SER-154. Simply put, [t]his is a

manual process in which HCA works to verify an individuals citizenship or status

on a case-by-case basis. It is administratively burdensome for both the individuals

and HCA staff. Id. For children born in non-Plaintiff States who will not have SSNs

or other citizenship affirming documents under Defendants narrower injunction

proposal, State Medicaid agencies will necessarily have to engage in a more

burdensome process to try to verify their citizenship status on a case-by-case basis,

while also assisting those individuals in trying to obtain SSNs or other proof of

citizenship, which the Defendants have never confirmed would be provided. Id.;

see generally 1-SER-262 (Arizona Medicaid agency assistant director explaining

that an increase in non-automatic verifications for newborns will require additional

staff to process verifications and additional funding to complete new administrative

work).

      In addition to this increased verification burden, the Plaintiff States agencies


                                          18
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 24 of 29




will see their verification systems upended completely under a patchwork system

where citizenship depends on ones place of birth and the status of a childs parents.

In Washington, for example, changing HCAs verification systems to deal with a

new patchwork birthright citizenship rule will require the work of at least 7-8 FTEs,

training for thousands of staff, and several years work. 1-SER-158. The harm and

ongoing burdens will likewise be triggered in the other Plaintiff States. In Arizona,

changes to the existing verification process for the States Medicaid agencyeven

for newborns born in the statewould take approximately a year and cost between

$2.3 million and $4.4 million. 1-SER-262. And the same is true for the Plaintiff

States child welfare agencies, which must verify the citizenship of children they

serve and do not currently verify the status of childrens parents at all, which is

necessary to determine citizenship status under the Citizenship Stripping Order; each

will face substantial burdens to update and modify their systems. See, e.g.,

1-SER-162, 1-SER-167-168 (Washington); 1-SER-297 (Oregon); 2-SER-306-310

(Illinois).

       In sum, Defendants proposals are unworkable, will still impose irreparable

harms on the Plaintiff States, and CASA declined the opportunity to endorse them as

a basis for limiting the district courts injunction. Had Defendants raised in the

district court their proposed alternative to have citizenship turn on within the

Plaintiff States for certain purposes when children move from other states, the


                                         19
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 25 of 29




district court could have considered the factual and administrative complications it

raises. Having declined to do soincluding by opposing the Plaintiff States request

for a limited remandDefendants cannot accuse the district court of an abuse of

discretion. The record is unrebutted that a patchwork system of U.S. citizenship will

cause the Plaintiff States substantial and irreparable harm, and CASA confirms the

district court applied the correct standard in fashioning the injunction on a

nationwide basis.

                              IV.    CONCLUSION

      This Court should affirm the district courts injunction in full.




                                          20
      Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 26 of 29




RESPECTFULLY SUBMITTED this 11th day of July 2025.

                              NICHOLAS W. BROWN
                               Attorney General of Washington

                              s/ Lane Polozola
                              COLLEEN M. MELODY, WSBA 42275
                                Civil Rights Division Chief
                              LANE POLOZOLA, WSBA 50138
                              DANIEL J. JEON, WSBA 58087
                              ALYSON DIMMITT GNAM, WSBA 48143
                                Assistant Attorneys General
                              Washington Attorney Generals Office
                              800 Fifth Avenue, Suite 2000
                              Seattle, WA 98104-3188
                              206-464-7744
                              colleen.melody@atg.wa.gov
                              lane.polozola@atg.wa.gov
                              daniel.jeon@atg.wa.gov
                              alyson.dimmittgnam@atg.wa.gov

                              NOAH G. PURCELL, WSBA 43492
                                Solicitor General
                              CRISTINA SEPE, WSBA 53609
                              MARSHA CHIEN, WSBA 47020
                                Deputy Solicitors General
                              1125 Washington Street SE
                              PO Box 40100
                              Olympia, WA 98504-0100
                              360-753-6200
                              noah.purcell@atg.wa.gov
                              cristina.sepe@atg.wa.gov
                              marsha.chien@atg.wa.gov
                              Attorneys for State of Washington


                              KRIS MAYES
                               Attorney General of Arizona
                              JOSHUA D. BENDOR
                               Solicitor General

                                21
Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 27 of 29




                        LUCI D. DAVIS
                          Senior Litigation Counsel
                        Arizona Attorney Generals Office
                        2005 N. Central Ave.
                        Phoenix, AZ 85004
                        Telephone: 602-542-3333
                        Joshua.Bendor@azag.gov
                        Luci.Davis@azag.gov
                        Attorneys for State of Arizona


                        KWAME RAOUL
                          Attorney General of Illinois
                        JANE ELINOR NOTZ
                          Solicitor General
                        ALEX HEMMER
                          Deputy Solicitor General
                        Illinois Attorney Generals Office
                        115 South LaSalle St.
                        Chicago, IL 60603
                        Telephone: 312-814-5526
                        Jane.Notz@ilag.gov
                        Alex.Hemmer@ilag.gov
                        Attorneys for State of Illinois


                        DAN RAYFIELD
                         Attorney General of Oregon
                        BENJAMIN GUTMAN
                         Solicitor General
                        MICHAEL A. CASPER
                         Senior Assistant Attorney General
                        Oregon Department of Justice
                        1162 Court St. NE
                        Salem, OR 97301
                        Telephone: 503-378-4402
                        Michael.Casper@doj.oregon.gov
                        Attorneys for State of Oregon




                          22
              Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 28 of 29




                         CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2025, I electronically filed the foregoing

documents with the Clerk of the Court by using the Appellate Case Management

System. I further certify that the participants in the case are ACMS users, and that

service will be accomplished by using the ACMS system.

      DATED this 11th day of July 2025.

                                      s/ Lane Polozola
                                      LANE POLOZOLA




                                        23
                Case: 25-807, 07/11/2025, DktEntry: 151.1, Page 29 of 29




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

      Instructions for this form: http://www.ca9.uscourts.gov/forms/form08instructions.pdf

9th Cir. Case Number(s)

       I am the attorney or self-represented party.

       This brief contains _______________ words, including __________ words

manually counted in any visual images, and excluding the items exempted by FRAP

32(f). The brief’s type size and typeface comply with FRAP 32(a)(5) and (6).

       I certify that this brief (select only one):

    complies with the word limit of Cir. R. 32-1.

    is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

    is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
       2(c)(2), or Cir. R. 29-2(c)(3).

    is for a death penalty case and complies with the word limit of Cir. R. 32-4.

    complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
   only one):
          it is a joint brief submitted by separately represented parties
          a party or parties are filing a single brief in response to multiple briefs
          a party or parties are filing a single brief in response to a longer joint brief.

    complies with the length limit designated by court order dated                                         .

    is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature                                                               Date
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
Form 8                                                                                         Rev. 12/01/22
